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Proposed Counsel for alleged Debtor,
Goodman Networks, Inc. d/b/a Goodman Solutions

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 IN RE:                                    §
                                           §    CASE NO. 22-31641-mvl7
 GOODMAN NETWORKS, INC.,                   §
                                           §    INVOLUNTARY CHAPTER 7
               Alleged Debtor.             §
                                           §    HEARING DATE: November 2, 2022
                                           §    HEARING TIME: 9:30 a.m.


            GOODMAN NETWORKS, INC.'S WITNESS AND EXHIBIT LIST
               FOR HEARING SCHEDULED FOR NOVEMBER 2, 2022
                            [Related to Dkt No. 32]

TO ALL INTERESTED PARTIES:

       Alleged Debtor Goodman Networks, Inc. d/b/a Goodman Solutions ("Goodman" and/or

"Alleged Debtor"), by and through the undersigned counsel, submit the following Witness and

Exhibit List for the hearing on FedEx Supply Chain Logistics & Electronics, Inc. ("FSCLE")'s

Motion to Compel Debtor to File a List of Creditors and to Establish Procedures for Other

Creditors to Join in the Petition ("Motion to Compel") [Dkt. 32], as set forth in FSCL's Notice of

Hearing [Dkt. 35], presently set for Wednesday, November 2, 2022 at 9:30 a.m. before the

Honorable Judge Michelle V. Larson.




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                                         WITNESSES

    1. Howard Konicov – Managing Director of Restructuring Group at CFGI;
    2. Any witness listed by any party; and
    3. Any witness necessary to rebut the testimony of a witness called or designated by any other
       party.

                                           EXHIBITS

         Goodman designate the following exhibits that may be admitted, and/or of which Alleged

Debtor may ask the Court to take judicial notice:


                                                                           M      O      O     A
                                                                           A      F      B     D
                                                                           R      F      J     M
   EXHIBIT                                                                 K      E      E     I
                                    DESCRIPTION
    NO(S).                                                                 E      R      C     T
                                                                           D      E      T
                                                                                  D

   Goodman-1       Texas Secretary of State Filings re GNET ATC, LLC
                   [filed as Exhibit 1 to Goodman's Objection to
                   FSCLE's Motion to Compel, ECF 42-1]

   Goodman-2       Declaration of Howard Konicov
                   [filed as Exhibit A to Goodman's Objection to
                   FSCLE Joinder to the Involuntary Petition, ECF 43-
                   1]

   Goodman-3       Asset Purchase Agreement ("APA") between
                   Goodman Networks Inc and Genesis Networks
                   Telecom Services, LLC d/b/a Genesis-ATC, dated as
                   September 14, 2019 [filed as Exhibit A-1 to
                   Goodman's Objection to FSCLE's Joinder to the
                   Involuntary Petition, ECF 43-1]

   Goodman-4       Assignment and Assumption Agreement
                   ("Assumption") between Goodman Networks
                   Incorporated ("Goodman") and GNET ATC LLC
                   ("GNET") [filed as Exhibit A-2 to Goodman's
                   Objection to FSCLE's Joinder to the Involuntary
                   Petition, ECF 43-1]




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                                                                              M        O    O     A
                                                                              A        F    B     D
                                                                              R        F    J     M
   EXHIBIT                                                                    K        E    E     I
                                      DESCRIPTION
    NO(S).                                                                    E        R    C     T
                                                                              D        E    T
                                                                                       D

   Goodman-5       Master Services Agreement between ATC Logistics
                   & Electronics and Genesis Networks Telecom
                   Services dated January 20, 2014 [filed as Exhibit A-3
                   to Goodman's Objection to FSCLE's Joinder to the
                   Involuntary Petition, ECF 43-1]

                   Any pleadings filed in this case; and
                   Any exhibit designated or used by any other party

                                      RESERVATION OF RIGHTS

         Goodman reserve the right to introduce one or more, or none, o the witnesses above, and

reserve the right to call any witness as a rebuttal, whether named herein or not, and to introduce

any other documents into evidence as rebuttal / impeachment exhibits, whether or not listed.

         Goodman further reserve the right to supplement this list prior to hearing.


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Dated: October 31, 2022                          Respectfully submitted,

                                                 AKERMAN LLP

                                                  /s/ David W. Parham
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                                                 Laura M. Taveras
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                                                 PROPOSED ATTORNEYS FOR ALLEGED
                                                 DEBTOR GOODMAN NETWORKS D/B/A
                                                 GOODMAN SOLUTIONS


                                CERTIFICATE OF SERVICE

        I hereby certify that on October 31, 2022, a true and correct copy of the foregoing document
was served on all parties consenting to electronic service of this case via the Court's ECF system
for the Northern District of Texas.

                                                 /s/ David W. Parham
                                                 David W. Parham




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